          Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 1 of 11 Page ID #:1



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 6
 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10   KORTTNEY ELLIOTT,                          Case No.:
11           Plaintiff,                         COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR
12         vs.                                  VIOLATION OF:
13                                              1. AMERICANS WITH DISABILITIES
                                                ACT, 42 U.S.C. §12131 et seq.;
14   TKWM, LLC; and DOES 1 through 10,
                                                2. CALIFORNIA’S UNRUH CIVIL
15               Defendants.                    RIGHTS ACT, CAL CIV. CODE §§ 51 -
                                                52 et seq.;
16
                                                3. CALIFORNIA’S DISABLED
17                                              PERSONS ACT, CAL CIV. CODE §54 et
                                                seq.
18
                                                4. CALIFORNIA HEALTH & SAFETY
19                                              CODE § 19955, et seq.
20                                              5. NEGLIGENCE
21
22
23
24         Plaintiff KORTTNEY ELLIOTT (“Plaintiff”) complains of Defendants TKWM,
25   LLC; and DOES 1 through 10 (“Defendants”) and alleges as follows:
26   //
27   //
28   //



                                        COMPLAINT - 1
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 2 of 11 Page ID #:2




 1                                            PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from hemiplegia, is substantially limited in her ability to walk and requires the use of a
 4   wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a meat market
 7   (“Business”) located at or about 8210 Garvey Ave., Rosemead, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10   therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11   to amend this Complaint when the true names and capacities have been ascertained.
12   Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13   named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14   the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




                                            COMPLAINT - 2
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 3 of 11 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is subject of this action is located in this district, Los Angeles County,
 8   California, and Plaintiff’s causes of actions arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about May of 2022, Plaintiff went to the Business.
11         11.    The Business is a meat market business establishment, open to the public,
12   and is a place of public accommodation and affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with her ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide the parking space identification sign with the
22                       International Symbol of Accessibility.
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to post required signage such as “Van Accessible” and
26                       “Minimum Fine $250.”
27         14.    These barriers and conditions denied Plaintiff the full and equal access
28




                                             COMPLAINT - 3
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 4 of 11 Page ID #:4




 1   to the Business and caused her difficulty and frustration. Plaintiff wishes to return and
 2   patronize the Business, however, Plaintiff is deterred from visiting the Business because
 3   her knowledge of these violations prevents her from returning until the barriers are
 4   removed.
 5         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 6   there are additional barriers to accessibility at the Business after further site inspection.
 7   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 8   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
10   knew that particular barriers render the Business inaccessible, violate state and federal
11   law, and interfere with access for the physically disabled.
12         17.    At all relevant times, Defendants had and still have control and dominion
13   over the conditions at this location and had and still have the financial resources to
14   remove these barriers without much difficulty or expenses to make the Business
15   accessible to the physically disabled in compliance with ADDAG and Title 24
16   regulations. Defendants have not removed such barriers and have not modified the
17   Business to conform to accessibility regulations.
18                                   FIRST CAUSE OF ACTION
19       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20         18.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23   shall be discriminated against on the basis of disability in the full and equal enjoyment of
24   the goods, services, facilities, privileges, advantages, or accommodations of any place of
25   public accommodation by any person who owns, leases, or leases to, or operates a place
26   of public accommodation. See 42 U.S.C. § 12182(a).
27         20.    Discrimination, inter alia, includes:
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                                            COMPLAINT - 4
     Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 5 of 11 Page ID #:5




 1          a.    A failure to make reasonable modification in policies, practices, or
 2                procedures, when such modifications are necessary to afford such
 3                goods, services, facilities, privileges, advantages, or accommodations
 4                to individuals with disabilities, unless the entity can demonstrate that
 5                making such modifications would fundamentally alter the nature of
 6                such goods, services, facilities, privileges, advantages, or
 7                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8          b.    A failure to take such steps as may be necessary to ensure that no
 9                individual with a disability is excluded, denied services, segregated or
10                otherwise treated differently than other individuals because of the
11                absence of auxiliary aids and services, unless the entity can
12                demonstrate that taking such steps would fundamentally alter the
13                nature of the good, service, facility, privilege, advantage, or
14                accommodation being offered or would result in an undue burden. 42
15                U.S.C. § 12182(b)(2)(A)(iii).
16          c.    A failure to remove architectural barriers, and communication barriers
17                that are structural in nature, in existing facilities, and transportation
18                barriers in existing vehicles and rail passenger cars used by an
19                establishment for transporting individuals (not including barriers that
20                can only be removed through the retrofitting of vehicles or rail
21                passenger cars by the installation of a hydraulic or other lift), where
22                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23          d.    A failure to make alterations in such a manner that, to the maximum
24                extent feasible, the altered portions of the facility are readily
25                accessible to and usable by individuals with disabilities, including
26                individuals who use wheelchairs or to ensure that, to the maximum
27                extent feasible, the path of travel to the altered area and the
28                bathrooms, telephones, and drinking fountains serving the altered



                                     COMPLAINT - 5
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 6 of 11 Page ID #:6




 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         21.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         22.    Under the ADA, the method and color of marking are to be addressed by
13   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14   Building Code (“CBC”), the parking space identification signs shall include the
15   International Symbol of Accessibility. Parking identification signs shall be reflectorized
16   with a minimum area of 70 square inches. Additional language or an additional sign
17   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18   parking space identification sign shall be permanently posted immediately adjacent and
19   visible from each parking space, shall be located with its centerline a maximum of 12
20   inches from the centerline of the parking space and may be posted on a wall at the
21   interior end of the parking space. See CBC § 11B-502.6, et seq.
22         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
23   each entrance to an off-street parking facility or immediately adjacent to on-site
24   accessible parking and visible from each parking space. The additional sign shall not be
25   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27   designated accessible spaces not displaying distinguishing placards or special license
28




                                            COMPLAINT - 6
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 7 of 11 Page ID #:7




 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq.
 3         24.      Here, Defendants failed to provide the parking space identification sign with
 4   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
 5   stating “Minimum Fine $250” and “Van Accessible.”
 6         25.      A public accommodation shall maintain in operable working condition those
 7   features of facilities and equipment that are required to be readily accessible to and usable
 8   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9         26.      By failing to maintain the facility to be readily accessible and usable by
10   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11   regulations.
12         27.      The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                 SECOND CAUSE OF ACTION
18                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         28.      Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         30.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



                                             COMPLAINT - 7
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 8 of 11 Page ID #:8




 1   for each and every offense for the actual damages, and any amount that may be
 2   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5   person denied the rights provided in Section 51, 51.5, or 51.6.
 6         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8   shall also constitute a violation of this section.”
 9         32.    The actions and omissions of Defendants alleged herein constitute a denial
10   of full and equal accommodation, advantages, facilities, privileges, or services by
11   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13   51 and 52.
14         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16   damages as specified in California Civil Code §55.56(a)-(c).
17                                  THIRD CAUSE OF ACTION
18                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19         34.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22   entitled to full and equal access, as other members of the general public, to
23   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28   places of public accommodations, amusement, or resort, and other places in which the



                                             COMPLAINT - 8
         Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 9 of 11 Page ID #:9




 1   general public is invited, subject only to the conditions and limitations established by
 2   law, or state or federal regulation, and applicable alike to all persons.
 3         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4   corporation who denies or interferes with admittance to or enjoyment of public facilities
 5   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7   the actual damages, and any amount as may be determined by a jury, or a court sitting
 8   without a jury, up to a maximum of three times the amount of actual damages but in no
 9   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10   determined by the court in addition thereto, suffered by any person denied the rights
11   provided in Section 54, 54.1, and 54.2.
12         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
13   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14   constitute a violation of this section, and nothing in this section shall be construed to limit
15   the access of any person in violation of that act.
16         38.    The actions and omissions of Defendants alleged herein constitute a denial
17   of full and equal accommodation, advantages, and facilities by physically disabled
18   persons within the meaning of California Civil Code § 54. Defendants have
19   discriminated against Plaintiff in violation of California Civil Code § 54.
20         39.    The violations of the California Disabled Persons Act caused Plaintiff to
21   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22   statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                FOURTH CAUSE OF ACTION
24                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25         40.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         41.    Plaintiff and other similar physically disabled persons who require the use of
28   a wheelchair are unable to use public facilities on a “full and equal” basis unless each



                                            COMPLAINT - 9
        Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 10 of 11 Page ID #:10




 1   such facility is in compliance with the provisions of California Health & Safety Code §
 2   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3   provisions of California Health & Safety Code § 19955 et seq.
 4          42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5   that public accommodations or facilities constructed in this state with private funds
 6   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7   Title 1 of the Government Code. The code relating to such public accommodations also
 8   require that “when sanitary facilities are made available for the public, clients, or
 9   employees in these stations, centers, or buildings, they shall be made available for
10   persons with disabilities.
11          43.    Title II of the ADA holds as a “general rule” that no individual shall be
12   discriminated against on the basis of disability in the full and equal enjoyment of goods
13   (or use), services, facilities, privileges, and accommodations offered by any person who
14   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15   Further, each and every violation of the ADA also constitutes a separate and distinct
16   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17   award of damages and injunctive relief pursuant to California law, including but not
18   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                   FIFTH CAUSE OF ACTION
20                                         NEGLIGENCE
21          44.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23          45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25   to the Plaintiff.
26          46.    Defendants breached their duty of care by violating the provisions of ADA,
27   Unruh Civil Rights Act and California Disabled Persons Act.
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                                            COMPLAINT - 10
        Case 2:22-cv-04866 Document 1 Filed 07/15/22 Page 11 of 11 Page ID #:11




 1         47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2   has suffered damages.
 3                                    PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5   Defendants as follows:
 6         1.     For preliminary and permanent injunction directing Defendants to comply
 7   with the Americans with Disability Act and the Unruh Civil Rights Act;
 8         2.     Award of all appropriate damages, including but not limited to statutory
 9   damages, general damages and treble damages in amounts, according to proof;
10         3.     Award of all reasonable restitution for Defendants’ unfair competition
11   practices;
12         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13   action;
14         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15         6.     Such other and further relief as the Court deems just and proper.
16                              DEMAND FOR TRIAL BY JURY
17         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18   demands a trial by jury on all issues so triable.
19
20   Dated: July 15, 2022             SO. CAL. EQUAL ACCESS GROUP
21
22
23                                           By:    _/s/ Jason J. Kim____________
                                                    Jason J. Kim, Esq.
24                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 11
